                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                       CIVIL ACTION NO. 3:20-CV-00403-GCM
 ATV BROADCAST, LLC,

                Plaintiff,

    v.                                                               ORDER

 COLUMBIA TELEVISION
 BROADCASTERS, INC.,
 SPRINGFIELD INDEPENDENT
 TELEVISION CO., INC.,
 WCCB-TV, INC.,
 BAHAKEL COMMUNICATIONS,
 LTD.,
 JACKSON TELECASTERS, INC.,
 ALABAMA TELECASTERS, INC. ,

                Defendants.


         THIS MATTER IS BEFORE THE COURT on the Motions for Admission Pro Hac

Vice (“Motions”) concerning Steven A. Marenberg (Doc. No. 18) and Josh B. Gordan (Doc.

No. 19).

         Upon review and consideration of the Motions, which were accompanied by submission

of the necessary fees, the Court hereby GRANTS the Motions.

         In accordance with Local Rule 83.1(b), Mr. Marenberg and Mr. Gordan are admitted to

appear before this court pro hac vice on behalf of all Defendants.

         IT IS SO ORDERED.

                                          Signed: October 16, 2020




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